        Case 18-15850-elf            Doc 80      Filed 09/01/19 Entered 09/02/19 00:50:50                          Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 18-15850-elf
Edward George Nightingale                                                                                  Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-4                  User: Randi                        Page 1 of 1                          Date Rcvd: Aug 30, 2019
                                      Form ID: pdf900                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 01, 2019.
db              Edward George Nightingale,   1408 Fox Gap Rd,   Bangor, PA 18013-6008

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 01, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 30, 2019 at the address(es) listed below:
              DAVID B. SCHWARTZ   on behalf of Debtor Edward George Nightingale david@dbsesq.com,
               DBSchwartzesq@aol.com
              REBECCA ANN SOLARZ    on behalf of Creditor   Carrington Mortgage Services, LLC
               bkgroup@kmllawgroup.com
              REBECCA ANN SOLARZ    on behalf of Creditor   THE BANK OF NEW YORK MELLON, F/K/A The Bank of New
               York et al... bkgroup@kmllawgroup.com
              ROLANDO RAMOS-CARDONA     on behalf of Trustee SCOTT F. WATERMAN (Chapter 13)
               ecfmail@readingch13.com, ecf_frpa@trustee13.com
              SCOTT F. WATERMAN (Chapter 13)    ECFMail@ReadingCh13.com, ecf_frpa@trustee13.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM MILLER*R    on behalf of Trustee WILLIAM MILLER*R ecfemail@FredReigleCh13.com,
               ECF_FRPA@Trustee13.com
                                                                                              TOTAL: 7
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                               Certificate of Notice Page 2 of 2



                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:    EDWARD GEORGE NIGHTINGALE,                         :          Chapter 13
                                                                :
                                         Debtor                 :          Bky. No. 18-15850 ELF

                                             ORDER

          AND NOW, upon consideration of the Debtor’s Application to Employ Real Estate

   Broker,

          It is hereby ORDERED that:

   1. The Motion is DENIED on the ground that it is not necessary for the Debtor to obtain court

      approval to retain a real estate broker to represent Debtor unless the broker is also

      representing the Trustee.

   2. In order for the real estate broker to receive compensation or allowance of expenses from the

      proceeds of the sale of property of the bankruptcy estate, either:

                 (a) the broker shall file an application in accordance with 11 U.S.C. §330 and In
                     re Busy Beaver Building Centers, Inc., 19 F. 3d. 833 (3d Cir. 1994); or

                 (b) the proposed compensation and the basis therefor shall be described with
                     particularity in the Debtor’s Motion for Authority to Sell the Real Estate and
                     in the Notice of Motion required by L.B.R 9014-3(e).




   Date: August 29, 2019
                                         ERIC L. FRANK
                                         U.S. BANKRUPTCY JUDGE
